                 CANDACE        AMBORN,         TRUSTEE




April 15, 2020


The Honorable Peter C. McKittrick
Via ECF Filing Only

     Re:   In re: Szanto, Peter
           United States Bankruptcy Court Case No. 16-33185-pcm7
           Proposed Distribution

Dear Judge McKittrick,

Attached are the proposed distribution and Forms 1 and 2.

The following is quoted from an email I received on April 14, 2020 from
Stephen P. Arnot, the former trustee. This was in response to my inquiry
as to the disposition of the personal property. I did not include the
photos referenced by Mr. Arnot, but do have them in my file.

     “Since early 2018, I had been trying to obtain access to conduct
     an inventory of the debtor’s furnishing, art, jewelry and other
     items identified on schedule B and by the debtor at the 341a
     meeting, The debtor failed to respond to my inquiries for access

     In early January 2019, I contacted Sheryl Gillett to appraise
     certain items of personal property located at the debtor’s
     residence located at 11 Shore Pine, Newport Beach, California.

     Pursuant to the debtor’s testimony at the meeting of creditors and
     his bankruptcy schedules, he has valuable items of personal
     property at his home. Some of the valuables he mentioned for
     example are a walnut wood dining table given to him by the
     actress Elizabeth Taylor worth in his opinion $200,000, an Amish
     armoire from the 17th century worth $200,000, a painting by
     artist Mimmo Paladino worth $100,000, painting by artist Max
     Earnst worth $100,000, bronze sculptures of boxers by Auguste
     Rodin worth $75,000. There should be additional items, but I


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     don’t have a list for you since the debtor has not provided one as
     of this date.

     I retained the broker and set up a time for her to view the
     furnishings and all other non-exempt personal property. When I
     eventually was able to confirm a date with the debtor, he informed
     me that the items were moved to a storage unit and that my
     appraiser could inventory and appraise the items in storage.

     The appraiser, Sherl Gilllett and her partner met the debtor at the
     storage unit. The Debtor was rude and obnoxious and refused to
     allow Sheryl access to the storage unit with her camera and her
     partner. As a result, Sheryl viewed the contents in storage and
     took photos with her camera phone.

     A formal appraisal was not performed after she inventoried the
     items (see photos) primarily because the property in storage was
     not worth spending the money to appraise the items

     I offered to pay the storage costs, but the debtor never responded
     to me and I never took possession of the property in storage.
     Further, I never did get access to the house.”

Best Regards,

/s/ Candace Amborn

Candace Amborn



Attachments




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                                                                                 DRAFT PROPOSED DISTRIBUTION REPORT--ESTIMATED

Case No:             16-33185-pcm7                                                                                                                                Trustee Name:     Candace Amborn
Case Name:           SZANTO, PETER                                                                                                                                Date:             4/15/2020

  Ref                     Claimant                       Class                                                                                     Amount Remaining            Proposed          Interest
                                                                                                                                                                              Distribution

 B1          Bennington & Moshofsky, P.C.                Accountant for Trustee Fees (Other                                                                   $5,895.25              $5,895.25              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ;

 A           Jordan Ramis PC                             Attorney for Trustee Fees (Other Fi                                                                 $79,250.00             $79,250.00              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ;

 C3          Williams Kastner Greene Markley             Attorney for Trustee Fees (Other Fi                                                                  $7,000.00              unknown                $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number:;

 D1          Lane Powell PC                              Attorney for Trustee Fees (Other Fi                                                                 $13,923.26             $13,923.26              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number:

 E3          Rajah & Tann                                Attorney for Trustee Fees (Other Fi                                                                 $27,822.27             $27,822.27              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ;

             Candace Amborn                              Trustee Compensation                                                                                $27,786.30             $27,786.30              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ;

             CANDACE AMBORN                              Trustee Expenses                                                                                         $9.80                  $9.80              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ;

             Stephen P. Arnot                            Trustee Expenses                                                                                      $285.13                 $285.13              $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ;

 7           United States Trustee Payment Center        U. S. Trustee Quarterly Fees                                                                          $650.00                 $650.00              $0.00
Description: Claim #: 7; Distribution Dividend: 100.00; Account Number: 3185;

 3a          INTERNAL REVENUE SERVICE                    Governmental Units Claim- 507(a)(8)                                                                  $2,960.17              $2,960.17              $0.00
Description: Claim #: 3; Distribution Dividend: 100.00; Account Number: ;

 3b          INTERNAL REVENUE SERVICE                    General Unsecured 726(a)(2)                                                                          $7,741.14              $3,680.18              $0.00
Description: Claim #: 3; Distribution Dividend: 47.54; Account Number: ;

 8           Motschenbacher & Blattner LLP               General Unsecured 726(a)(2)                                                                        $263,724.25            $125,376.10              $0.00
Description: Claim #: 8; Distribution Dividend: 47.54; Account Number: The claimed economic damages of $292,345.52 have been prorated among claims 8-13

 9           Motschenbacher & Blattner LLP               General Unsecured 726(a)(2)                                                                        $203,724.25             $96,851.74              $0.00
Description: Claim #: 9; Distribution Dividend: 47.54; Account Number: ;

 10          Motschenbacher & Blattner LLP               General Unsecured 726(a)(2)                                                                        $188,724.25             $89,720.64              $0.00
Description: Claim #: 10; Distribution Dividend: 47.54; Account Number: ;

 11          Motschenbacher & Blattner LLP               General Unsecured 726(a)(2)                                                                        $148,724.25             $70,704.40              $0.00
Description: Claim #: 11; Distribution Dividend: 47.54; Account Number: ;

 12          Motschenbacher & Blattner LLP               General Unsecured 726(a)(2)                                                                         $98,724.25             $46,934.10              $0.00
Description: Claim #: 12; Distribution Dividend: 47.54; Account Number: ;

 13          Motschenbacher & Blattner LLP               General Unsecured 726(a)(2)                                                                        $123,724.25             $58,819.25              $0.00
Description: Claim #: 13; Distribution Dividend: 47.54; Account Number: ;


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Case Name:   SZANTO, PETER                                                                          Date:             4/15/2020

  Ref           Claimant     Class                                                   Amount Remaining            Proposed         Interest
                                                                                                                Distribution

                                                                                            $1,200,668.82           $657,668.59          $0.00




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                                                                                                FORM 1
                                                                                                                                                                                        Page No:    1
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                             ASSET CASES

Case No.:                        16-33185                                                                                                                    Trustee Name:                           Candace Amborn
Case Name:                       SZANTO, PETER                                                                                                               Date Filed (f) or Converted (c):        12/05/2017 (c)
For the Period Ending:            04/14/2020                                                                                                                 §341(a) Meeting Date:                   01/04/2018
                                                                                                                                                             Claims Bar Date:                        02/13/2018
                                     1                                                    2                             3                              4                        5                                        6

                        Asset Description                                           Petition/                 Estimated Net Value                   Property              Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                           Unscheduled                (Value Determined by                   Abandoned             Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                        Value                          Trustee,                  OA =§ 554(a) abandon.        the Estate
                                                                                                            Less Liens, Exemptions,
                                                                                                               and Other Costs)

Ref. #
1        11 Shore Pine, Newport, CA                                                 $2,700,000.00                                  $0.00               OA                            $0.00                                           FA
Asset Notes:     See Docket No. 508
                 Abandoned 11/27/18 per Stip Order Docket No. 562 on 8/29/18.
2        416 NW 13th Avenue, Portland, OR 97209                             $780,000.00                                            $0.00                                             $0.00                                           FA
3        Chrysler PT Cruiser                                                              $8,000.00                                $0.00                                             $0.00                                           FA
Asset Notes:    Asset is not exempt; however, trustee has determined blue book value is under $1,500 and abandons as inconsequential value to estate.
4      Mercedes 450 GL                                                         $27,000.00                                  $0.00                                                     $0.00                                           FA
Asset Notes:       Asset is exempt under Nevada exemptions as per amended schedule C filed on 5/30/18)
5        Isuzu Trooper                                                            $100.00                                          $0.00                                             $0.00                                           FA
6        VW Tiguan                                                                        $3,775.00                                $0.00                                             $0.00                                           FA
Asset Notes:      asset exempt
7        Household Goods - Furnishings                                                $210,000.00                              Unknown                                               $0.00                                    Unknown
Asset Notes:      Trustee will continue efforts to gain access to household goods and furniture to have broker value for potential estate value
8        TV and electronics                                                        $25,000.00                                    $0.00                                               $0.00                                           FA
Asset Notes:       trustee considers this asset of inconsequentialvalue to the estate.
9        Sculptures, paintings                                                       $100,000.00                               Unknown                                               $0.00                                    Unknown
Asset Notes:       Trustee will continue efforts to gain access to household goods and furniture to have broker value for potential estate value
10       Sport and exercise equipment                                               $85,000.00                                Unknown                                                $0.00                                    Unknown
Asset Notes:        Trustee will continue efforts to gain access to household goods and furniture to have broker value for potential estate value
11       clothing                                                                    $25,000.00                                    $0.00                                             $0.00                                           FA
Asset Notes:        trustee considers this asset of inconsequentialvalue to the estate.
12       Jewelry                                                                          $1,600.00                                $0.00                                             $0.00                                           FA
13       Eye glasses, dentures, hearing aid, food and fuel                                $6,000.00                                $0.00                                             $0.00                                           FA
         on hand
14       cash                                                                              $105.00                                 $0.00                                             $0.00                                           FA
15       Union Bank                                                                   $113,000.00                             $36,105.06                                        $36,105.06                                           FA
Asset Notes:    Pursuant to bank statements, only $36,105.06 remained in account which trustee has received.
16       HSBC Bank                                                           $250,000.00                                       Unknown                                          $81,692.09                                    Unknown
Asset Notes:      Trustee receovered $81,692.09 from HSBC Australia Bank account. Debtor transferred approx $300k to HSBC Bank Singapore. Trustee has employed Singapore attorney to pursue records
                  and recovery of funds asset remains unknown at this time.
17       ETrade Account                                                     $900,000.00                                 $0.00                                     $576,707.61                                                        FA
Asset Notes:        trustee liquidated stock acccount and recovered net proceeds of $576k. Before trustee froze account, Debtor transferred approximately $377K to HSBS America and then transferred those


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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                             ASSET CASES

Case No.:                         16-33185                                                                                                             Trustee Name:                           Candace Amborn
Case Name:                        SZANTO, PETER                                                                                                        Date Filed (f) or Converted (c):        12/05/2017 (c)
For the Period Ending:            04/14/2020                                                                                                           §341(a) Meeting Date:                   01/04/2018
                                                                                                                                                       Claims Bar Date:                        02/13/2018
                                      1                                                 2                            3                           4                        5                                        6

                        Asset Description                                          Petition/                Estimated Net Value               Property              Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                          Unscheduled               (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                       Value                         Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)

                   funds to HSBC Singapore. recovered funds will be under Asset No. 16 for HSBC Account
18       Wells Fargo Shareholder services                                        $1,100.00                                      $0.00                                          $0.00                                           FA
Asset Notes:    Exempt
19     yankee Trust - former ownership / directorship                                       $0.00                         $84,427.77                                      $84,427.77                                           FA
       ended
Asset Notes:    Turn over of funds in bank accounts

                   See Order (Dkt #46) in AP No. 18-3042-pcm.
20       Peter Szanto LLC                                                                   $0.00                               $0.00                                          $0.00                                           FA
21       Szanto Co. / XANTO Co                                                              $0.00                               $0.00                                          $0.00                                           FA
22       Peter Szanto Co                                                                    $0.00                               $0.00                                          $0.00                                           FA
23       ETrade Financial Retirement                                                 $57,027.00                                 $0.00                                          $0.00                                           FA
24       ETrade Financial IRA                                                        $10,777.00                                 $0.00                                          $0.00                                           FA
25       Void                                                         (u)              Unknown                                  $0.00                                          $0.00                                           FA
26       Szanto family trusts                                                     $3,500,000.00                                 $0.00            OA                            $0.00                                           FA
Asset Notes:      See Notice to Abandon AP Action (Dkt # 364)
27       Investment in testing                                                         $4,000.00                                $0.00                                          $0.00                                           FA
Asset Notes:       Trustee deems inconsequential and burdensome to estate.
28       California RE Brokers License                                               $50,000.00                                 $0.00                                          $0.00                                           FA
Asset Notes:    Trustee deems inconsequential value to estate.
29     Tax Court Action for 2010                                                       Unknown                                  $0.00                                          $0.00                                           FA
Asset Notes:       thi is a liability rather than an asset.
30       Protective Life insurance                                                          $0.00                               $0.00                                          $0.00                                           FA
31       Joint or pay on death accounts with Susan                                          $0.00                               $0.00                                          $0.00                                           FA
         Szanto
32       Office Equipment                                                            $25,000.00                                 $0.00                                          $0.00                                           FA
Asset Notes:       trustee considers this asset of inconsequentialvalue to the estate.
33     Inventory -- goods and supplies valued at market                              $135,000.00                            Unknown                                            $0.00                                    Unknown
       likely sale
Asset Notes:       Trustee will continue efforts to gain access for broker to value property for estate
34     Business related property - various books,                                      $50,000.00                           Unknown                                            $0.00                                           FA
       catalogs
Asset Notes:       trying to gain access to value
35     Educational materials                                                            $5,000.00                               $0.00                                          $0.00                                           FA


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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                           ASSET CASES

Case No.:                       16-33185                                                                                                                 Trustee Name:                           Candace Amborn
Case Name:                      SZANTO, PETER                                                                                                            Date Filed (f) or Converted (c):        12/05/2017 (c)
For the Period Ending:          04/14/2020                                                                                                               §341(a) Meeting Date:                   01/04/2018
                                                                                                                                                         Claims Bar Date:                        02/13/2018
                                   1                                                  2                                3                           4                        5                                        6

                       Asset Description                                         Petition/                  Estimated Net Value                 Property              Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                         Unscheduled                 (Value Determined by                 Abandoned             Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                      Value                           Trustee,                OA =§ 554(a) abandon.        the Estate
                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)

Asset Notes:      trustee considers this asset of inconsequentialvalue to the estate.
36      Real Estate Books, manuals                                                    $2,000.00                                  $0.00                                            $0.00                                          FA
Asset Notes:      trustee considers this asset of inconsequentialvalue to the estate.
37     Farrier tools, supplies                                                        $1,500.00                                  $0.00                                            $0.00                                          FA
38      Potential property interest with Susan Szanto                                     $0.00                                  $0.00                                            $0.00                                          FA
Asset Notes:    Per Docket No. 318, no value
39      Sam Miles - claim                                                           $20,000.00                                   $0.00                                            $0.00                                          FA
Asset Notes:      Schedule B, Line 34 of conversion documents. Zero value because statute of limitations ran before case was filed.
40      Claim v. Briones, counsel                                             $20,000.00                                      $0.00                                               $0.00                                          FA
Asset Notes:      Schedule B, Line 34 of conversion documents. Zero value because statute of limitations ran before case was filed.
41      Autocraft - claim for ruined electrical                               $20,000.00                                      $0.00                                               $0.00                                          FA
Asset Notes:     trustee considers this asset of inconsequentialvalue to the estate. Statute of limitations expired
42      O'Connell Landscapingclaim                                                  $25,000.00                                   $0.00                                            $0.00                                          FA
Asset Notes:      Schedule B, Line 34 of conversion documents. Zero value because statute of limitations ran before case was filed.
43      Florida Judgments FLMB                                                $12,000.00                                      $0.00                                               $0.00                                          FA
44      Polishing machines - tools of trade                                         $20,000.00                                   $0.00                                            $0.00                                          FA
Asset Notes:    Trustee deems inconsequential and burdensome to estate
45     Bank of America checking/savings Accounts              (u)                  $112,984.40                             $112,987.40                                      $112,987.40                                          FA
Asset Notes:       Per Court order, Bank of America turned over funds in checking account, account no xxxxx 2580
46      Void                                                      (u)              Unknown                                       $0.00                                            $0.00                                          FA
47     Debtor's Claims on California Appellate Case                                  Unknown                                     $0.00                                            $0.00                                          FA
       No. A144586, San Mateo County Superior Ct
       No. PRO115212
Asset Notes:      Abandon Notice filed 4/8/20
INT    Post-Petition Interest Deposits                              (u)              Unknown                                        N/A                                           $0.00                                   Unknown


TOTALS (Excluding unknown value)                                                                                                                                                                    Gross Value of Remaining Assets
                                                                                $9,305,968.40                              $233,520.23                                      $891,919.93                                      $0.00



Major Activities affecting case closing:
 04/03/2019     Continue pursuit of Hidden Assets



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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    16-33185                                                                                               Trustee Name:                           Candace Amborn
Case Name:                   SZANTO, PETER                                                                                          Date Filed (f) or Converted (c):        12/05/2017 (c)
For the Period Ending:        04/14/2020                                                                                            §341(a) Meeting Date:                   01/04/2018
                                                                                                                                    Claims Bar Date:                        02/13/2018
                                 1                                   2                            3                           4                        5                                        6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)




                [SARNOT 2017-12-06 19:15:35]


Initial Projected Date Of Final Report (TFR):   12/31/2018                    Current Projected Date Of Final Report (TFR):       03/28/2021




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                                                                                   FORM 2                                                                       Page No: 1
                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       16-33185                                                                                      Trustee Name:                         Candace Amborn
Case Name:                     SZANTO, PETER                                                                                 Bank Name:                            ASSOCIATED BANK
Primary Taxpayer ID #:         **-***3389                                                                                    Checking Acct #:                      ******4977
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        Checking
For Period Beginning:          08/16/2016                                                                                    Blanket bond (per case limit):        $55,683,398.00
For Period Ending:             04/14/2020                                                                                    Separate bond (if applicable):


     1                2                         3                                                  4                                                5                    6               7

Transaction      Check /                      Paid to/                   Description of Transaction                           Uniform            Deposit           Disbursement        Balance
   Date           Ref. #                   Received From                                                                     Tran Code             $                    $


01/10/2018           (17)   E*Trade Financial                   Liquidation of brokerage account no xxxx2698                  1129-000                  $0.04                  $0.00             $0.04
                                                                Liquidation of E*Trade brokerage account no
                                                                xxxx2698
01/10/2018           (17)   E*Trade Financial                   Liquidation of brokerage account no xxxx6400                  1129-000            $9,829.87                    $0.00         $9,829.91
                                                                Liquidation of E*Trade brokerage account no
                                                                xxxx6400
01/10/2018           (17)   E*Trade Financial                   Liquidation of brokerage account no xxxx5272                  1129-000          $566,877.70                    $0.00     $576,707.61
                                                                Liquidation of E*Trade brokerage account no
                                                                xxxx5272
01/10/2018           (45)   Bank of America                     Liquidation of bank of America Account No xxxxx               1249-000          $112,987.40                    $0.00     $689,695.01
                                                                2580
                                                                Per Court order, Bank of America turned over funds in
                                                                checking account No xxxxx 2580 in the name of the
                                                                debtor. Deposits came from debtor's E*trade acct
01/17/2018           (15)   Union Bank                          balance in Account No. 2572 close out balance in acct         1129-000           $21,807.34                    $0.00     $711,502.35
                                                                no 2572 on 1-12-18
01/17/2018           (15)   Union Bank                          close out balance in account no 2580                          1129-000           $14,297.72                    $0.00     $725,800.07
                                                                close out balance in account no 2580 as of 1-11-18
01/17/2018           101    Peter Szanto                        Return of Debtors Exempt Social Security deposits             8100-000                  $0.00            $1,194.00       $724,606.07
                                                                Returned to debtor 2 months social security deposits
                                                                into the DIP account that are exempt
02/07/2018                  Associated Bank                     Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),              2600-000                  $0.00                $718.14     $723,887.93
                                                                503(b)(1), and 507(a)(2)
02/23/2018           102    Orange County Tax Collector         payment of Real Property Taxes Pursuant to Order              2820-000                  $0.00            $9,253.66       $714,634.27
                                                                denying relief from stay, the trustee is to pay the taxes
                                                                and insurance on 11 Shore Pine, Newport Coast, Ca.
                                                                DKT 393 and 381.
02/23/2018           103    Homesight Insurance                 payment of insurance on real property                         2420-000                  $0.00            $1,711.89       $712,922.38
                                                                Pursuant to Order denying relief from stay, the trustee
                                                                is to pay the taxes and insurance on 11 Shore Pine,
                                                                Newport Coast, Ca. DKT 393 and 381.
03/07/2018                  Associated Bank                     Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),              2600-000                  $0.00                $971.39     $711,950.99
                                                                503(b)(1), and 507(a)(2)
                                                                                                                             SUBTOTALS           $725,800.07            $13,849.08
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                                                                                     FORM 2                                                                           Page No: 2
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       16-33185                                                                                             Trustee Name:                        Candace Amborn
Case Name:                     SZANTO, PETER                                                                                        Bank Name:                           ASSOCIATED BANK
Primary Taxpayer ID #:         **-***3389                                                                                           Checking Acct #:                     ******4977
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                       Checking
For Period Beginning:          08/16/2016                                                                                           Blanket bond (per case limit):       $55,683,398.00
For Period Ending:             04/14/2020                                                                                           Separate bond (if applicable):


     1                2                       3                                                     4                                                     5                    6             7

Transaction      Check /                   Paid to/                        Description of Transaction                                Uniform           Deposit           Disbursement      Balance
   Date           Ref. #                Received From                                                                               Tran Code            $                    $


04/06/2018                  Associated Bank                        Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),                  2600-000                 $0.00            $1,058.45     $710,892.54
                                                                   503(b)(1), and 507(a)(2)
05/07/2018                  Associated Bank                        Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),                  2600-000                 $0.00            $1,022.77     $709,869.77
                                                                   503(b)(1), and 507(a)(2)
06/07/2018                  Associated Bank                        Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),                  2600-000                 $0.00            $1,055.37     $708,814.40
                                                                   503(b)(1), and 507(a)(2)
06/21/2018           (16)   HSBC Bank USA N.A.                     Turnover of funds in Debtor's HSBC Domestic                       1129-000          $81,692.09                  $0.00     $790,506.49
                                                                   Account
                                                                   HSBC provided a letter with the check, but no
                                                                   accounting as to which accounts the funds came.
                                                                   Trustee believes funds came from HSBC Australia to
                                                                   HSBC America.
07/09/2018                  Associated Bank                        Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),                  2600-000                 $0.00            $1,055.08     $789,451.41
                                                                   503(b)(1), and 507(a)(2)
08/07/2018                  Associated Bank                        Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),                  2600-000                 $0.00            $1,173.77     $788,277.64
                                                                   503(b)(1), and 507(a)(2)
09/10/2018                  Associated Bank                        Bank Service Fee under 11 U.S.C. § 330(a)(1)(B),                  2600-000                 $0.00            $1,171.96     $787,105.68
                                                                   503(b)(1), and 507(a)(2)
09/12/2018           104    Williams Kastner Greene Markley        Order Approving Interim Fees Court entered order                      *                    $0.00           $89,095.62     $698,010.06
                                                                   approving interim fees to attorney (Docket 517) for
                                                                   trustee. see DKT #577
                                                                                                                    ($87,250.00)     3110-000                                               $698,010.06
                                                                                                                      ($1,845.62)    3120-000                                               $698,010.06
10/22/2018           (19)   Bank Of America                        payment in Arnot v. Yankee Trust Corp                             1149-000          $53,101.11                  $0.00     $751,111.17
                                                                   Payment to the estate in response to demand for
                                                                   turnover on Bank of America of $53,101.11. Bank
                                                                   was holding until resolution of Arnot v. Yankee Trust
                                                                   Corp Turnover of Funds.
10/29/2018           (19)   E*Trade                                Turnover of Funds in Arnot v. Yankee Trust                        1149-000          $31,326.66                  $0.00     $782,437.83
                                                                   determining funds are property of estate



                                                                                                                                    SUBTOTALS          $166,119.86            $95,633.02
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        16-33185                                                                                                  Trustee Name:                          Candace Amborn
Case Name:                      SZANTO, PETER                                                                                             Bank Name:                             ASSOCIATED BANK
Primary Taxpayer ID #:          **-***3389                                                                                                Checking Acct #:                       ******4977
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:                         Checking
For Period Beginning:           08/16/2016                                                                                                Blanket bond (per case limit):         $55,683,398.00
For Period Ending:              04/14/2020                                                                                                Separate bond (if applicable):


     1                2                           3                                                      4                                                        5                    6              7

Transaction      Check /                        Paid to/                        Description of Transaction                                  Uniform          Deposit             Disbursement       Balance
   Date           Ref. #                     Received From                                                                                 Tran Code           $                      $


01/07/2019           105    Stephen Arnot                              Interim distribution to chapter 7 trustee                           2100-000                   $0.00           $20,000.00      $762,437.83
                                                                       Trustee filed a request for interim distribution for his
                                                                       trustee commission in the amount of $20k, despite the
                                                                       total commission of approx $43k, to date. see order
                                                                       approving interim payment DKT 638.
01/17/2019                  Rajah & Tann Singapore LLP                 Retainer Deposit Per Court Order (Dkt #626)                         3210-000                   $0.00           $10,000.00      $752,437.83
02/25/2019           106    Sheryl Gillett                             Initial fee to appriaser to inventory property                      3610-000                   $0.00            $1,000.00      $751,437.83
                                                                       initial retainer of $1,000 to appraiser to inspect and
                                                                       prepare and inventory. thereafter, subsequent order for
                                                                       appraisal fee will be filed
03/25/2019                  Associated Bank                            Bank service fee                                                    2600-000                   $0.00                $80.00     $751,357.83
03/25/2019           107    Candace Amborn                             Transfer Funds                                                      9999-000                   $0.00          $751,357.83              $0.00

                                                                                          TOTALS:                                                             $891,919.93             $891,919.93             $0.00
                                                                                              Less: Bank transfers/CDs                                              $0.00             $751,357.83
                                                                                          Subtotal                                                            $891,919.93             $140,562.10
                                                                                              Less: Payments to debtors                                             $0.00               $1,194.00
                                                                                          Net                                                                 $891,919.93             $139,368.10




                     For the period of 08/16/2016 to 04/14/2020                                                          For the entire history of the account between 12/07/2017 to 4/14/2020

                     Total Compensable Receipts:                       $891,919.93                                       Total Compensable Receipts:                                 $891,919.93
                     Total Non-Compensable Receipts:                         $0.00                                       Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                     $891,919.93                                       Total Comp/Non Comp Receipts:                               $891,919.93
                     Total Internal/Transfer Receipts:                       $0.00                                       Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                  $140,562.10                                       Total Compensable Disbursements:                            $140,562.10
                     Total Non-Compensable Disbursements:                    $0.00                                       Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                $140,562.10                                       Total Comp/Non Comp Disbursements:                          $140,562.10
                     Total Internal/Transfer Disbursements:            $751,357.83                                       Total Internal/Transfer Disbursements:                      $751,357.83


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                                                                                           FORM 2                                                                           Page No: 4
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         16-33185                                                                                               Trustee Name:                          Candace Amborn
Case Name:                       SZANTO, PETER                                                                                          Bank Name:                             Independent Bank
Primary Taxpayer ID #:           **-***3389                                                                                             Checking Acct #:                       ********85
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:
For Period Beginning:            08/16/2016                                                                                             Blanket bond (per case limit):         $55,683,398.00
For Period Ending:               04/14/2020                                                                                             Separate bond (if applicable):


     1                2                          3                                                        4                                                     5                    6                  7

Transaction      Check /                      Paid to/                           Description of Transaction                               Uniform           Deposit            Disbursement           Balance
   Date           Ref. #                   Received From                                                                                 Tran Code            $                     $


04/02/2019                   Stephen Arnot Chapter 7 Trustee            Transfer of finds to successor trustee                           9999-000          $751,357.83                      $0.00       $751,357.83
04/04/2019           1001    INTERNATIONAL SURETIES, LTD.               Payment of Blanket Bond #...7975                                 2300-000                   $0.00                 $161.98       $751,195.85
01/28/2020           1002    Williams Kastner Greene & Markley          Per Interim Comp Appl #3 [Doc 691] and Judge's                       *                      $0.00           $65,997.21          $685,198.64
                                                                        Order reducing Amount [Doc 735]
                                                                        Attorney Fees                                    ($65,407.50)    3210-000                                                      $685,198.64
                                                                        Attorney Expenses                                   ($589.71)    3220-000                                                      $685,198.64
04/14/2020                   Rajah & Tann                               Per Order for Interim Compensation [Doc 954]                         *                      $0.00           $27,297.73          $657,900.91
                                                                        Fees per Order-reduced by Judge;                 ($25,913.60)    3210-000                                                      $657,900.91
                                                                        Wire Transfer requested
                                                                        Expenses per Order-reduced by Judge;              ($1,384.13)    3220-000                                                      $657,900.91
                                                                        Wire Transfer requested

                                                                                            TOTALS:                                                          $751,357.83                 $93,456.92      $657,900.91
                                                                                                Less: Bank transfers/CDs                                     $751,357.83                      $0.00
                                                                                            Subtotal                                                               $0.00                 $93,456.92
                                                                                                Less: Payments to debtors                                          $0.00                      $0.00
                                                                                            Net                                                                    $0.00                 $93,456.92




                      For the period of 08/16/2016 to 04/14/2020                                                       For the entire history of the account between 04/02/2019 to 4/14/2020

                      Total Compensable Receipts:                             $0.00                                    Total Compensable Receipts:                                       $0.00
                      Total Non-Compensable Receipts:                         $0.00                                    Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                           $0.00                                    Total Comp/Non Comp Receipts:                                     $0.00
                      Total Internal/Transfer Receipts:                 $751,357.83                                    Total Internal/Transfer Receipts:                           $751,357.83


                      Total Compensable Disbursements:                   $93,456.92                                    Total Compensable Disbursements:                             $93,456.92
                      Total Non-Compensable Disbursements:                    $0.00                                    Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                 $93,456.92                                    Total Comp/Non Comp Disbursements:                           $93,456.92
                      Total Internal/Transfer Disbursements:                  $0.00                                    Total Internal/Transfer Disbursements:                            $0.00


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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        16-33185                                                                                        Trustee Name:                        Candace Amborn
Case Name:                      SZANTO, PETER                                                                                   Bank Name:                           Independent Bank
Primary Taxpayer ID #:           **-***3389                                                                                     Checking Acct #:                     ********85
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:           08/16/2016                                                                                      Blanket bond (per case limit):       $55,683,398.00
For Period Ending:              04/14/2020                                                                                      Separate bond (if applicable):


    1                2                           3                                                     4                                                5                  6              7

Transaction      Check /                     Paid to/                          Description of Transaction                         Uniform          Deposit           Disbursement       Balance
   Date           Ref. #                  Received From                                                                          Tran Code           $                    $



                                                                                                                                                                               NET         ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                               NET DEPOSITS                   DISBURSE        BALANCES

                                                                                                                                                   $891,919.93          $234,019.02       $657,900.91




                     For the period of 08/16/2016 to 04/14/2020                                                For the entire history of the account between 04/02/2019 to 4/14/2020

                     Total Compensable Receipts:                       $891,919.93                             Total Compensable Receipts:                              $891,919.93
                     Total Non-Compensable Receipts:                         $0.00                             Total Non-Compensable Receipts:                                $0.00
                     Total Comp/Non Comp Receipts:                     $891,919.93                             Total Comp/Non Comp Receipts:                            $891,919.93
                     Total Internal/Transfer Receipts:                 $751,357.83                             Total Internal/Transfer Receipts:                        $751,357.83


                     Total Compensable Disbursements:                  $234,019.02                             Total Compensable Disbursements:                         $234,019.02
                     Total Non-Compensable Disbursements:                    $0.00                             Total Non-Compensable Disbursements:                           $0.00
                     Total Comp/Non Comp Disbursements:                $234,019.02                             Total Comp/Non Comp Disbursements:                       $234,019.02
                     Total Internal/Transfer Disbursements:            $751,357.83                             Total Internal/Transfer Disbursements:                   $751,357.83




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